      Case 3:18-cr-00342-WKW-WC Document 21 Filed 08/27/18 Page 1 of 3


                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                              EASTERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )   CASE NO.     3:18cr342-WKW
                                             )
KYLE GEOFFREY SANDLER
                                        ORDER

       Please read this order carefully. Paragraphs 5 and 6 of this order have been
revised, and paragraphs 7, 8, 9, and 10 are new.

       The defendant by consent has appeared before a United States Magistrate Judge and
has entered a plea of guilty. The Magistrate Judge accepted the guilty plea and has
adjudicated the defendant guilty. Accordingly, it is ORDERED as follows:

      1. Sentencing of the defendant is set on February 28, 2019, at 10:30 a.m.,
Courtroom 2B, the Frank M. Johnson, Jr. United States Courthouse, One Church Street,
Montgomery, Alabama.

       2. In accordance with Rule 32(f)(1), Federal Rules of Criminal Procedure, counsel
for the defendant and the Government shall communicate in writing to the probation
officer, and to each other, any objections they have as to any material information,
sentencing classifications, sentencing guideline ranges, and policy statements contained in
or omitted from the presentence report. The probation officer will notify parties of the
objection deadline and will schedule a conference to discuss and resolve, if possible, any
factual and legal issues contained in the presentence report.

       3. Any motion for downward departure shall be filed on or before the conference
date with the probation officer, unless based on unknown and unforeseen circumstances
arising after that date, in which case the motion must be filed promptly upon discovery of
such circumstances.

        4. Counsel for the defendant and the Government are to notify the Court at
least two weeks prior to the sentencing date if the hearing is anticipated to take more
than one hour.

      5. Government and defense motions shall be filed 5 working days before
sentencing.
      Case 3:18-cr-00342-WKW-WC Document 21 Filed 08/27/18 Page 2 of 3


      6. Sentencing Memoranda. Sentencing memoranda are not required;
however, any party desiring to submit a sentencing memorandum shall file it, and
any attachments, not less than 5 working days before sentencing, with copies served
on opposing counsel and the probation officer assigned to the case.

       7. Sentencing Exhibits. Any paper exhibit that a party may offer at the
sentencing hearing shall be filed electronically as a Notice of Filing Sentencing
Exhibits. If the paper exhibit was filed as an attachment to a sentencing
memorandum (see paragraph 6 above), the Notice should reference the attachment
by the e-filed document number (e.g., Doc. # 54-3), but the attachment itself need not
be filed a second time. As to physical evidence that may be offered at the sentencing
hearing, the offering party shall attach a photograph of the physical evidence to a
Notice of Filing Sentencing Exhibits. Finally, any storage media (e.g., CDs, DVDs)
that may be offered at the sentencing hearing shall be filed conventionally, along with
an electronically filed notice of conventional filing.

      All exhibits referenced in this paragraph — paper, physical evidence, and
storage media — shall be filed (in accordance with the procedures in the preceding
paragraph) not less than 5 working days before sentencing, with copies served on
opposing counsel and the probation officer assigned to the case.

       8. The parties shall comply with Rule 49.1 of the Federal Rules of Criminal
Procedure and refrain from including, or shall partially redact where inclusion is
necessary, personal data identifiers from all filings with the court, including exhibits,
whether filed electronically or in paper, unless otherwise ordered by the court. The
responsibility for redacting these personal identifiers rests solely with counsel and the
parties.

       9. Introduction of Exhibits at Sentencing. Any of the above referenced exhibits
that a party moves to introduce at sentencing shall be offered at the hearing, even if
a copy of the exhibit previously was filed in accordance with paragraphs 6 and 7 of
this Order.

       10. Courtesy copies for the court: The filing party shall deliver to chambers
not less than 5 working days before sentencing a courtesy copy of any sentencing
memoranda and exhibits filed in accordance with paragraphs 6 and 7 of this Order
(including a copy of any storage media). Courtesy copies should be printed after filing
in CM/ECF, with the CM/ECF header printed on every page. There is no
requirement that courtesy copies be delivered to chambers by the due date; courtesy
copies may be mailed to chambers on the date they are due.
      Case 3:18-cr-00342-WKW-WC Document 21 Filed 08/27/18 Page 3 of 3


       Nothing contained in this Order shall be construed as impairing the rights of any
party as established in the United States Constitution or laws of the United States.

      DONE this 27th day of August, 2018.

                                             /s/ W. Keith Watkins
                                   CHIEF UNITED STATES DISTRICT JUDGE
